 

Case 1:21-cr-00175-TJK Document 182 Filed 09/2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Vv. Case No. 1:21-cr-175

ETHAN NORDEAN, et al, District Judge Timothy J. Kelly

Defendants.

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DECLARATION OF HENDRIK BLOCK

I, HENDERIK “EDDIE” BLOCK, a resident of the State of Califomia, hereby declare
under penalty of perjury that the following is we and comect:

1. On January 6, 2021, I walked from the Washington Monument to the US.
Capitol, filming members of the Proud Boys group along the way with a GoPro action camera.

2. Tunderstand that, on September 20, the goverment submitted one of my clips to
the Court in the above-captioned case, filmed by the food tucks near the Frances Perkins
Building in Washington, D.C. on January 6. On the date of this declaration I reviewed that clip
and recall the moment it captures.

3. Tt is my understanding that the govermment represented to the Court that the clip
depict: me “homiedly removing [myself] fom a conversation involving Mr. Nordean while
commenting. “I better get out of here. You guys are talking stuff I don't want to bear.”

4 The Boverument seems to be insimmating that I tumed my wheelchair away fom
Rufio’s conversation to avoid hearing something bad about the “conspiracy” to commit the
“ewTrection.” The government is wrong.

4. Iwas livesteaming online the group's march around the National Mall that day.

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Tf] had streamed the group's comments in real time about where we were headed next, people
who wanted to find us to start a fight, lke Antifa, could easily do so. I tomed my camera away
from Rufio's conversation because I did not want those kinds of people to ambush us with
knowledge of where we were headed

& Neither in that filmed moment nor im any other that day did I hear Rufio say that
the plan was to jump barmers at, or enter, the Capitol
Executed on September 21, 2021.

Respectiully submitted,

Went Bloods

Hendnk Block

 
